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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

Harvey Short, et al.,                                 Case No. 3:08-cv-00355-JTM-CAN

        Plaintiff,

v.
                                                         NOTICE OF SETTLEMENT
GC Services, Limited Partnership,

        Defendant.


        Now come Plaintiffs, by and through counsel, and hereby give notice that the parties in

the above-captioned matter reached a settlement. Plaintiffs anticipate filing a Notice of

Dismissal with Prejudice in 60 days.



                                             RESPECTFULLY SUBMITTED,

                                             Macey & Aleman, P.C.

                                             By: /s/ Richard J. Meier
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                                             Attorney for Plaintiffs
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on a copy of the foregoing Notice was filed electronically. Notice of

this filing will be sent by operation of the Court’s electronic filing system to all parties indicated

on the electronic filing receipt.



                                               /s/ Richard J. Meier
